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               Exhibit 2
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 From:             Ross, Matthew
 To:               Kathryn Guyton
 Subject:          discuss on phone?
 Date:             Tuesday, April 12, 2016 8:03:00 AM


 Hi Kate,

 Can we discuss over the phone? I won’t have time today due to a teaching obligation this a.m., but I
 will Wed and Fri this week. I have questions and concerns regarding my continued involvement with
 v. 117 that I think would be better served over the phone than email.

 Thanks.
 Matt
 Phone: 662-325-5482


 From: Kathryn Guyton [mailto:GuytonK@iarc.fr]
 Sent: Monday, April 11, 2016 10:36 AM
 To: Ross, Matthew <MRoss@cvm.msstate.edu>
 Cc: Kurt Straif <StraifK@iarc.fr>; daf.dis <daf@iarc.fr>
 Subject: Re: Resignation from volume 117 WG

 Dear Matt,

 Thanks for your message.

 We would reach the opposite conclusion: for IARC, the open records request on the prior volume,
 no matter how it ultimately resolves, has no impact whatsoever on your current work for v117. It is
 a legal matter that doesn’t reflect upon you or your institution particularly.

 IARC doesn't regard this as a conflict for your current or future participation on an
 IARC Monographs Working Group. To the contrary, we would be delighted if you would continue in
 your current role in v117.

 With kind regards,
 Kate
 Kate Z. Guyton PhD DABT
 Responsible Officer, Volume 117
 Monographs Section
 International Agency for Research on Cancer
 150, cours Albert Thomas
 69372 Lyon Cedex 08
 France
 Tel: [+33] (0)4 72 73 86 54
 Guytonk@iarc.fr
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 From: "Ross, Matthew" <MRoss@cvm.msstate.edu>
 Date: Monday 11 April 2016 at 16:34
 To: Kate Guyton <guytonk@iarc.fr>
 Subject: Resignation from volume 117 WG

 Dear Kate,
 The open records request of MSU, which our institution cannot ignore or dismiss, will likely force
 IARC/WHO to get a court order to prevent the documents from being released. If MSU releases the
 documents, as currently mandated by state law, the university (and me by association) will be
 deemed by IARC to be “prejudicial to the work of IARC/WHO”. Alternatively, IARC/WHO will file suit
 against MSU to prevent the records from being released. Both scenarios will put MSU (and myself
 included) in an obvious and real conflict of interest with IARC/WHO, at least until this matter is all
 settled. Therefore, it is plain to me that I should immediately resign from the Volume 117 working
 group. Personally (and professionally), this is very disappointing to me on many different levels. I
 had looked forward to again work with you, the IARC team, and the working group on this volume.
 Alas, litigation is the way the world works. Please know that I tried my best, but we (myself and the
 institution where I work) have to do what is required by law.
 I wish you the best with volume 117. If this matter is settled and I am no longer in a conflict of
 interest (or irreversibly tainted in the eyes of IARC by this mess), it is my hope that I may serve on a
 future working group. But that is obviously up to you and IARC to decide.


 Best regards,
 Matt Ross
 ----------------------------
 Matt Ross, PhD
 Associate Professor
 College of Veterinary Medicine
 Mississippi State University
 Phone: 662-325-5482
 Email: mross@cvm.msstate.edu
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 Mississippi State, MS 39762




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